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                        IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                   LUFKIN DIVISION

 UNITED STATES OF AMERICA                         §
                                                  §
                                                  § CASE NO. 9:16-CR-00017-5-RC
 v.                                               §
                                                  §
                                                  §
 JULIO MONTALVO                                   §
                                                  §

          FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
               BEFORE THE UNITED STATES MAGISTRATE JUDGE

        By order of the District Court, this matter is referred to the undersigned United States

 Magistrate Judge for administration of the guilty plea under Rule 11. Magistrate judges have the

 statutory authority to conduct a felony guilty plea proceeding as an “additional duty” pursuant to

 28 U.S.C. § 636(b)(3). United States v. Bolivar-Munoz, 313 F.3d 253, 255 (5th Cir. 2002).

        On November 28, 2016, this case came before the undersigned magistrate judge for entry

 of a guilty plea by the Defendant, Julio Montalvo, to Count One of the Indictment. Count One

 alleges that from on or about January 1, 2016, the exact date being unknown to the Grand Jury,

 and continuing thereafter until on or about June 1, 2016, in the Eastern District of Texas and

 elsewhere, the Defendant, and co-defendants, knowingly and intentionally conspired and agreed

 with each other, and with persons known and unknown to the Grand Jury, to distribute and to

 possess with the intent to distribute 50 grams or more of a mixture or substance containing a

 detectable amount of a Schedule II controlled substance, namely: methamphetamine, in violation

 of 21 U.S.C. § 841(a)(1), all in violation of 21 U.S.C. § 846 - Conspiracy to Possess with Intent

 to Manufacture and Distribute.




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          The Defendant entered a plea of guilty to Count One of the Indictment into the record at

 the hearing. After conducting the proceeding in the form and manner prescribed by Federal Rule

 of Criminal Procedure 11, the undersigned finds:

          a.       That the Defendant, after consultation with his attorney, has knowingly, freely

 and voluntarily consented to the administration of the guilty plea in this case by a United States

 Magistrate Judge in the Eastern District of Texas, subject to a final approval and imposition of

 sentence by the District Court.

          b.       That the Defendant and the Government have entered into a plea agreement which

 was disclosed and addressed in open court, entered into the record, and placed under seal. The

 Defendant verified that he understood the terms of the plea agreement, and he acknowledged that

 it was his signature on the plea agreement.                   To the extent the plea agreement contains

 recommendations and requests pursuant to FED. R. CRIM. P. 11 (c)(1)(B), the court advised the

 Defendant that he has no right to withdraw the plea if the court does not follow the particular

 recommendations or requests. To the extent that any or all of the terms of the plea agreement are

 pursuant to Rule 11(c)(1)(A) or (C), the undersigned advised the Defendant that he will have the

 opportunity to withdraw his plea of guilty should the court not follow those particular terms of

 the plea agreement. 1


 1. “(3) Judicial Consideration of a Plea Agreement.
 (A) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the court may accept the
 agreement, reject it, or defer a decision until the court has reviewed the presentence report.
 (B) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(B), the court must advise the defendant
 that the defendant has no right to withdraw the plea if the court does not follow the recommendation or request.
 (4) Accepting a Plea Agreement. If the court accepts the plea agreement, it must inform the defendant that to the
 extent the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the agreed disposition will be included
 in the judgment.
 (5) Rejecting a Plea Agreement. If the court rejects a plea agreement containing provisions of the type specified in
 Rule 11(c)(1)(A) or (C), the court must do the following on the record and in open court (or, for good cause, in
 camera):
 (A) inform the parties that the court rejects the plea agreement;
 (B) advise the defendant personally that the court is not required to follow the plea agreement and give the defendant
 an opportunity to withdraw the plea; and

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          c.       That the Defendant is fully competent and capable of entering an informed plea,

 that the Defendant is aware of the nature of the charges and the consequences of the plea, and

 that the plea of guilty is made freely, knowingly, and voluntarily.                         Upon addressing the

 Defendant personally in open court, the undersigned determines that the Defendant’s plea is

 knowing and voluntary and did not result from force, threats or promises (other than the

 promises set forth in the plea agreement). See FED. R. CRIM. P. 11(b)(2).

          d.       That the Defendant’s knowing and voluntary plea is supported by an independent

 factual basis establishing each of the essential elements of the offense and the Defendant realizes

 that his conduct falls within the definition of the crime charged under 21 U.S.C. § 846 -

 Conspiracy to Possess with Intent to Manufacture and Distribute.

                                        STATEMENT OF REASONS

          As factual support for the Defendant’s guilty plea, the Government presented a factual

 basis. See Factual Basis and Stipulation. In support, the Government would prove that the

 Defendant is the same person charged in the Indictment, and that the events described in the

 Indictment occurred in the Eastern District of Texas. The Government would also have proven,

 beyond a reasonable doubt, each and every essential element of the offense as alleged in Count

 One of the Indictment through the testimony of witnesses, including expert witnesses, and

 admissible exhibits. In support of the Defendant’s plea, the undersigned incorporates the proffer

 of evidence described in detail in the factual basis and stipulation filed in support of the plea

 agreement, and the Defendant’s admissions made in open court in response to the undersigned’s

 further inquiry into the factual basis and stipulation.




 (C) advise the defendant personally that if the plea is not withdrawn, the court may dispose of the case less favorably
 toward the defendant than the plea agreement contemplated.” FED. R. CRIM. P. 11(c)(3)-(5).

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        The Defendant agreed with and stipulated to the evidence presented in the factual basis.

 Counsel for the Defendant and the Government attested to the Defendant’s competency and

 capability to enter an informed plea of guilty. The Defendant agreed with the evidence presented

 by the Government and personally testified that he was entering the guilty plea knowingly, freely

 and voluntarily.

                              RECOMMENDED DISPOSITION

        IT IS THEREFORE the recommendation of the undersigned United States Magistrate

 Judge that the District Court accept the Guilty Plea of the Defendant, which the undersigned

 determines to be supported by an independent factual basis establishing each of the essential

 elements of the offense charged in Count One of the Indictment. Accordingly, it is further

 recommended that the District Court finally adjudge the Defendant, Julio Montalvo, guilty of the

 charged offense under 21 U.S.C. § 846 - Conspiracy to Possess with Intent to Manufacture and

 Distribute.

        The District Court should defer its decision to accept or reject the plea agreement until

 there has been an opportunity to review the presentence report. If the plea agreement is rejected

 and the Defendant still persists in his guilty plea, the disposition of the case may be less

 favorable to the Defendant than that contemplated by the plea agreement. The Defendant is

 ordered to report to the United States Probation Department for the preparation of a presentence

 report. The Defendant has the right to allocute before the District Court before imposition of

 sentence.

                                         OBJECTIONS

        Pursuant to 28 U.S.C. § 636(b)(1)(c), each party to this action has the right to file

 objections to this report and recommendation. Objections to this report must: (1) be in writing,



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 (2) specifically identify those findings or recommendations to which the party objects, and (3) be

 served and filed within fourteen (14) days after being served with a copy of this report, and (4)

 no more than eight (8) pages in length. See 28 U.S.C. § 636(b)(1)(c) (2009); FED. R. CIV. P.

 72(b)(2); Local Rule CV-72(c). A party who objects to this report is entitled to a de novo

 determination by the United States District Judge of those proposed findings and

 recommendations to which a specific objection is timely made. See 28 U.S.C. § 636(b)(1)

 (2009); FED R. CIV. P. 72(b)(3).

        A party’s failure to file specific, written objections to the proposed findings of fact and

 conclusions of law contained in this report, within fourteen (14) days of being served with a copy

 of this report, bars that party from: (1) entitlement to de novo review by the United States District

 Judge of the findings of fact and conclusions of law, see Rodriguez v. Bowen, 857 F.2d 275,

 276–77 (5th Cir. 1988), and (2) appellate review, except on grounds of plain error, of any such

 findings of fact and conclusions of law accepted by the United States District Judge, see

 Douglass v. United Servs. Auto. Ass’n, 79 F.3d 1415, 1428–29 (5th Cir. 1996) (en banc).


         SIGNED this 28th day of November, 2016.




                                                      _________________________
                                                      Zack Hawthorn
                                                      United States Magistrate Judge




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